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                                 CERTIFICATE OF SERVICE


         I hereby certify that on April 20, 2021 I filed Response to Defendants Motion with the
  Clerk of Court through the CM/ECF system, which will send a notice of electronic filing to:
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   (Identity Evropa), Matthew Parrott, and
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                                                   Socialist Movement, and Nationalist Front
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                                    CERTIFICATE OF SERVICE
          I further hereby certify that on April 21, 2021, I also served the following non-ECF
  participants, via mail and electronic mail, as follows:


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                                                    /s/ Michael L. Bloch
                                                    Michael L. Bloch (pro hac vice)
                                                    KAPLAN HECKER & FINK LLP

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